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            EXHIBIT
              A
     Case 2:20-cv-12734-MAG-EAS ECF No. 211-1, PageID.9555 Filed 12/01/23 Page 2 of 4


Michael Hanna x8310

From:                             Michael Hanna x8310
Sent:                             Thursday, November 16, 2023 8:54 PM
To:                               Michael O. Cummings
Cc:                               Andrew Frisch x7412; Ronald G. Acho; Julie A. Callahan; Veronica Stewart x8313; Ertis
                                  Tereziu x8316
Subject:                          RE: Guy v. Absopure - Personnel File Exhibits and Motion to Reconsider

Categories:                       Litify


Counsel,

What are you talking about? What Agreement was reached on the record? Do you have a transcript of that hearing to
evidence this “agreement” you claim was reached before you represent to the Court that there was an agreement reached
between the Parties on the record? The Court’s Order expressly addressed the admissibility of the personnel file, and the
only “agreement” reached was the Parties stipulation that these exhibits would not be admitted.

As you know, prior to the Court’s November 15, 2023 Order, the Court entered an Order concerning the personnel file
exhibits on October 26, 2023 directing Defendant to “identify the specific information it intends to use and for what
purpose” from the personnel files. ECF No. 180, PageID.8236 (emphasis added). On October 31, 2023, Defendant’s
Response advised what its “narrow list” was, and referenced to its narrow list from the record and prior filings. See ECF
No. 182, PageID.8247. The Parties and the Court then extensively discussed this “narrow list” piece by piece during the
November 9, 2023 hearing, and you stipulated that these exhibits will not be admitted after extensive discussion, save
for certain disciplinary records that may be relevant. The Court, in turn, entered an Order on November 15, 2023, which
states:

        Plaintiffs’ Personnel Records and Disciplinary History: Per the parties’ stipulation at the
        November 9 hearing, these exhibits will not be admitted. The Court may permit Absopure
        to introduce Exhibit 159, (otherwise identified as ABS 2120–2129), which Absopure
        indicates is relevant to opt-in plaintiff John Aniol’s workplace disciplinary history.
        However, the Court will require the parties to first seek permission to present the issue of
        Aniol’s disciplinary history out of the jury’s presence before presenting any evidence or
        argument on this issue.

ECF No. 191, PageID.8719 (emphasis added). If you attempt to misrepresent the record and claim there was some
agreement reached, as Mr. Acho misrepresented Defendant’s production during the October 24, 2023 hearing, Plaintiff
will seek sanctions.

With respect to the other exhibits, these issues have been exhaustively addressed over the span of three hearings and
multiple briefings by each party. During the October 26, 2023 hearing, Mr. Acho claimed that I misrepresented what was
produced, and falsely advised the Court that Defendant produced the underlying records for, inter alia, Exhibits 8, 126-
127, 130-157, 212-239 in an effort to falsely claim Fed.R.Evid. 1006 was satisfied. The Court, in turn, entered an Order,
stating:

        Exhibits 8, 126–127, 130–157, and 213–239: Absopure’s counsel, individually, must certify as to the date on
        which counsel (or the person under his direction) produced to Plaintiffs the documents or information containing
        the underlying data supporting these exhibits and must specifically describe the documents or information that
        was produced. A copy of the transmittal letter or email must be supplied. Absopure’s memorandum must explain
        how this information satisfies the requirements of Federal Rule of Evidence 1006.

When the Court pressed Defendant to produce its transmittal letters or emails evidencing its production and Mr. Acho’s
representations to the Court, Defendant admitted—as it must—that it did not actually produce the underlying records after
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all. Forced to pivot, due to Mr. Acho’s material misrepresentations, Defendant instead provided the dates for when it
produced its summary charts in its exhibit, and attempted to justify its untimely production through its arguments.
Thereafter, a second hearing was conducted on November 9, 2023 where you made additional arguments concerning these
exhibits. Thereafter, the Court addressed the binding Sixth Circuit authority concerning the production of these documents
during a third hearing on November 13, 2023, and entered an Order concerning their inadmissibility based on the binding
authority provided on the record on on November 15, 2023. ECF No. 191.

Are you now looking for a fourth (or fifth?) bite at the apple? You have had ample opportunity to make all arguments
Defendant can muster concerning these issues in 3 hearings and multiple briefings.

There is no intervening binding authority that precipitates or otherwise justify this vexatious litigation, and Plaintiff will
seek his fees and costs if he is required to—once again—respond and re-brief these issues.



Michael Hanna
Attorney
My Bio

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A referral is the best compliment. If you know anyone that needs our help, please have them call our office 24/7.

From: Michael O. Cummings <mcummings@cmda-law.com>
Sent: Thursday, November 16, 2023 7:04 PM
To: Michael Hanna x8310 <MHanna@forthepeople.com>
Cc: Andrew Frisch x7412 <AFrisch@ForThePeople.com>; Ronald G. Acho <racho@cmda-law.com>; Julie A. Callahan
<jcallahan@cmda-law.com>
Subject: *EXT* Guy v. Absopure - Personnel File Exhibits and Motion to Reconsider

CAUTION: Use caution when clicking on links or opening attachments in this external email.



Counsel,

Per Absopure's agreement in the November 9th hearing, attached is a narrowed list of exhibits from
Plaintiffs' personnel files.

Further, please be advised that Absopure intends to file a motion to reconsider the Court's ruling that
Absopure's Exhibits 8, 126-127, 130-157, and 213-239 are inadmissible and also the Court's ruling with
respect to personnel files to the extent that it appears different than what was agreed to by the parties at
the hearing. Please advise whether you concur.

Regards,

Michael O. Cummings
                                                                  2
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